                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION


UNITED STATES OF AMERICA,                     )
                                              )
                               Plaintiff,     )
                                              )
                       v.                     )               No. 12-4049-02-CR-C-FJG
                                              )
RICHARD J. KITCHEN,                           )
                                              )
                               Defendant.     )

                            REPORT AND RECOMMENDATION
                             CONCERNING PLEA OF GUILTY

       Defendant Richard J. Kitchen, by consent, appeared before the undersigned on August
15, 2013, pursuant to Rule 11 of the Federal Rules of Criminal Procedure, Local Rule
72(c)(1)(j), and 28 U.S.C. § 636, and has entered a plea of guilty to Counts One and Three of the
Superseding Indictment filed on January 16, 2013. After cautioning and examining the
defendant, under oath, in accordance with the requirements of Rule 11, it was determined that the
guilty plea was made with full knowledge of the charges and the consequences of pleading
guilty, was voluntary, and that the offenses to which the defendant has plead guilty are supported
by a factual basis for each of the essential elements of the offenses.
       IT IS, THEREFORE, RECOMMENDED that the plea of guilty be accepted and that
defendant Richard J. Kitchen be adjudged guilty and have sentence imposed accordingly.
       Failure to file written objections to this Report and Recommendation within fourteen (14)
days from the date of its filing will bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).
       Dated this 15th day of August, 2013, at Jefferson City, Missouri.



                                              /s/   Matt J. Whitworth
                                              MATT J. WHITWORTH
                                              United States Magistrate Judge




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